Case MDL No. 3089 Document 1-6 Filed 09/18/23 Page 1 of 45




EXHIBIT C
            Case MDL No. 3089 Document 1-6 Filed 09/18/23 Page 2 of 45




                         Query    Reports    Utilities       Help    Log Out

                                                                                       ACCO

             UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA (Western Division - Los Angeles)
          CIVIL DOCKET FOR CASE #: 2:23-cv-07737


Baughman v. Johnson & Johnson Consumer Inc. et al        Date Filed: 09/15/2023
Assigned to:                                             Jury Demand: Plaintiff
Cause: 28:1332 Diversity-Fraud                           Nature of Suit: 370 Other Fraud
                                                         Jurisdiction: Diversity
Plaintiff
Jennifer Baughman                   represented by Kiley Lynn Grombacher
                                                   Bradley Grombacher LLP
                                                   31365 Oak Creek Drive Suite 240
                                                   Westlake Village, CA 91361
                                                   805-270-7100
                                                   Fax: 805-270-7589
                                                   Email:
                                                   kgrombacher@bradleygrombacher.com
                                                   ATTORNEY TO BE NOTICED


V.
Defendant
Johnson & Johnson Consumer
Inc.

Defendant
Kenvue Inc

Defendant
Proctor & Gamble

Defendant
Reckitt Benckiser LLC


Date Filed       # Docket Text
        Case MDL No. 3089 Document 1-6 Filed 09/18/23 Page 3 of 45




09/15/2023   1 COMPLAINT Receipt No: ACACDC-36052681 - Fee: $402, filed by
               Plaintiff Jennifer Baughman. (Attorney Kiley Lynn Grombacher added to
               party Jennifer Baughman(pty:pla))(Grombacher, Kiley) (Entered:
               09/15/2023)
09/15/2023   2 Request for Clerk to Issue Summons on Complaint (Attorney Civil Case
               Opening) 1 filed by Plaintiff Jennifer Baughman. (Grombacher, Kiley)
               (Entered: 09/15/2023)
09/15/2023   3 Request for Clerk to Issue Summons on Complaint (Attorney Civil Case
               Opening) 1 filed by Plaintiff Jennifer Baughman. (Grombacher, Kiley)
               (Entered: 09/15/2023)
09/15/2023   4 Request for Clerk to Issue Summons on Complaint (Attorney Civil Case
               Opening) 1 filed by Plaintiff Jennifer Baughman. (Grombacher, Kiley)
               (Entered: 09/15/2023)
09/15/2023   5 Request for Clerk to Issue Summons on Complaint (Attorney Civil Case
               Opening) 1 filed by Plaintiff Jennifer Baughman. (Grombacher, Kiley)
               (Entered: 09/15/2023)
09/15/2023   6 CIVIL COVER SHEET filed by Plaintiff Jennifer Baughman.
               (Grombacher, Kiley) (Entered: 09/15/2023)
09/15/2023   7 DECLARATION of Jennifer Baughman re Complaint (Attorney Civil
               Case Opening) 1 DECLARATION OF PLAINTIFF REGARDING
               PROPER COUNTY FOR COMMENCEMENT AND TRIAL OF A CLAIM
               UNDER THE CONSUMERS LEGAL REMEDIES ACT filed by Plaintiff
               Jennifer Baughman. (Grombacher, Kiley) (Entered: 09/15/2023)
09/15/2023   8 CERTIFICATE of Interested Parties filed by Plaintiff Jennifer Baughman,
               (Grombacher, Kiley) (Entered: 09/15/2023)



                                PACER Service Center
                                     Transaction Receipt
                                      09/18/2023 15:26:23
             PACER
                            jordansteele   Client Code: decon
             Login:
                            Docket         Search       2:23-cv-07737 End date:
             Description:
                            Report         Criteria:    9/18/2023
             Billable
                            2              Cost:        0.20
             Pages:
      Case Case
           2:23-cv-07737
                 MDL No. 3089
                          Document
                              Document
                                   1 Filed
                                        1-609/15/23
                                             Filed 09/18/23
                                                     Page 1 of
                                                            Page
                                                               42 4Page
                                                                    of 45ID #:1


 1 BRADLEY/GROMBACHER, LLP
   Marcus J. Bradley, Esq. (SBN 174156)
 2 Kiley Lynn Grombacher, Esq. (SBN 245960)
 3 31365 Oak Crest Dr., Suite 240
   Westlake Village, CA 91361
 4 Telephone: (805) 270-7100
 5 mbradley@bradleygrombacher.com
   kgrombacher@bradleygrombacher.com
 6
 7 Attorneys for Plaintiff
 8                        UNITED STATES DISTRICT COURT

 9                       CENTRAL DISTRICT OF CALIFORNIA

10
11 JENNIFER    BAUGHMAN, on behalf of           CASE NO.: 2:13-CV-7737
   herself and all others similarly situated,   CLASS ACTION COMPLAINT FOR:
12              Plaintiff,
                                                1) FALSE AND MISLEADING
13 vs.                                             ADVERTISING;
14
   JOHNSON & JOHNSON                            2) UNFAIR BUSINESS PRACTICES
15 CONSUMER INC.; KENVUE INC.
                                                3) VIOLATION OF THE
16 a Delaware company; PROCTER &                   CALIFORNIA CONSUMER
   GAMBLE, an Ohio corporation; and                LEGAL REMEDIES ACT;
17 RECKITT BENCKISER LLC, a
18 Delaware limited liability                   4) UNJUST ENRICHMENT;
   corporation,
19                                              5) BREACH OF IMPLIED WARRANTY
                Defendants.
20                                              6) VIOLATION OF MAGNUSON-
21                                                 MOSS WARRANTY ACT;

22                                              7) VIOLATIONS OF CONSUMER
                                                   FRAUD LAWS; AND
23
24                                              8) NEGLIGENT
                                                   MISREPRESENTATION
25
26
                                                DEMAND FOR JURY TRIAL
27
28


                                           1
                                CLASS ACTION COMPLAINT
      Case Case
           2:23-cv-07737
                 MDL No. 3089
                          Document
                              Document
                                   1 Filed
                                        1-609/15/23
                                             Filed 09/18/23
                                                     Page 2 of
                                                            Page
                                                               42 5Page
                                                                    of 45ID #:2


 1         Jennifer Baughman (“Plaintiff”), on behalf of herself and all others similarly
 2 situated, file this Class Action Complaint (“CAC”) against Defendants Johnson &
 3 Johnson Consumer Inc. (“J&J”), Kenvue, Inc. (“KI”), Reckitt Benckiser LLC (“RB”);
 4 and Procter & Gamble (“P&G”)(collectively “Defendants”), and in support states the
 5 following:
 6                              NATURE OF THE ACTION
 7         1.    This is a class action lawsuit brought under California’s consumer
 8 protection laws by Plaintiff, and others similarly situated, who purchased over-the-
 9 counter (“OTC”) decongestant products containing phenylephrine (the “Products”).
10         2.    These Products are manufactured, sold and distributed by Defendants and
11 have been found by the U.S. Food and Drug Administration (“FDA”) to lack efficacy.
12 Defendants have long been aware of the lack of efficacy but have continued to sell the
13 Products. The Products’ lack of efficacy was not disclosed to Plaintiff prior to
14 Plaintiff’s purchase of the Products. Plaintiff would not have purchased the Products
15 had she known they did not work as advertised. Plaintiff and the putative class suffered
16 economic damages due to Defendants’ misconduct (as set forth below). They seek
17 injunctive relief and restitution for the full purchase price of the Products they
18 purchased. Plaintiff alleges the following based upon personal knowledge as well as
19 investigation by counsel, and as to all other matters, upon information and belief.
20 Plaintiff further believes that substantial evidentiary support will exist for the
21 allegations set forth herein after a reasonable opportunity for discovery.
22                             JURISDICTION AND VENUE
23         3.    This Court has original jurisdiction pursuant to 28 U.S.C. §1332(d)(2). The
24 matter in controversy exceeds the sum or value of $5,000,000, exclusive of interest and
25 costs, and is a class action in which there are in excess of 100 class members. Plaintiff
26 is a citizen of a state different from Defendants.
27         4.    This Court has jurisdiction over each Defendant because both Defendants
28 are authorized to conduct business in California. Defendants have marketed, promoted,
     distributed, and sold the Products in California. This Court may exercise jurisdiction
                                            2
                                 CLASS ACTION COMPLAINT
      Case Case
           2:23-cv-07737
                 MDL No. 3089
                          Document
                              Document
                                   1 Filed
                                        1-609/15/23
                                             Filed 09/18/23
                                                     Page 3 of
                                                            Page
                                                               42 6Page
                                                                    of 45ID #:3


 1 over Defendants because Defendants have sufficient minimum contacts with this State
 2 and/or sufficiently avail themselves of the markets in this State through promotion,
 3 sales, distribution and marketing within this State.
 4         5.    Venue is proper in this Court pursuant to 28 U.S.C. §1391(a) and (b)
 5 because a substantial part of the events or omissions giving rise to Plaintiff’s claims
 6 occurred while he resided in this judicial district. Venue is also proper under 18 U.S.C.
 7 §1965(a) because Defendants transact substantial business in this District.
 8                                     THE PARTIES
 9         3.    Plaintiff Jennifer Baughman (“Plaintiff” or “Plaintiff Baughman”) is a
10 citizen and resident of Los Angeles County, and at all times relevant hereto, has been a
11 resident of Los Angeles County and made her purchases of the Products within that
12 County. Within the Class Period defined below, Plaintiff purchased Sudafed PE, Vick's
13 DayQuil Vick's Nyquil Cold & Flu, Vicks Nyquil Severe Cold & Flu, Vicks Nyquil
14 Cold + Flu plus Congestion and Mucinex Sinus Max for personal and household use to
15 relieve congestion associated with a cold. During that time, based on the false and
16 misleading claims by Defendants, Plaintiff was unaware that Defendants’ oral
17 decongestant Products were not an effective remedy for congestion and/or cold
18 symptoms. None of these products was effective in relieving congestion.
19         4.    Plaintiff purchased Defendants’ Products on the assumption that the
20 labeling of the Products was accurate and that the Products worked as advertised.
21 Plaintiff would not have purchased Defendants’ Products had she known they were not
22 effective and lacked the ability to provide relief for congestion and/or cold symptoms
23 as marketed by Defendants. As a result, Plaintiff suffered injury in fact when she spent
24 money to purchase Products she would not otherwise have purchased absent
25 Defendants’ misconduct, as alleged herein.
26         5.    Plaintiff continues to be exposed to Defendants’ marketing materials for
27 these ineffective Products. Plaintiff continues to encounter the Products on display for
28 sale to consumers at retail businesses where she regularly shops. Plaintiff would
     purchase Defendants’ Products again in the future if she were assured that Defendants’
                                            3
                                 CLASS ACTION COMPLAINT
      Case Case
           2:23-cv-07737
                 MDL No. 3089
                          Document
                              Document
                                   1 Filed
                                        1-609/15/23
                                             Filed 09/18/23
                                                     Page 4 of
                                                            Page
                                                               42 7Page
                                                                    of 45ID #:4


 1 Products had been reformulated using GRASE ingredients that are proven effective for
 2 decongestant relief as advertised by Defendants.
 3         6.    Defendant Johnson & Johnson Consumer Inc., a McNeil Consumer
 4   Healthcare Division, is a New Jersey corporation with its headquarters and principal
 5   place of business at 199 Grandview Road, Skillman, New Jersey, 08558.              J&J
 6   manufactures, markets, advertises, labels, distributes and sells phenylephrine products
 7   under its Sudafed and Benadryl product lines. J&J may be served via its registered
 8   agent, C T Corporation System, 100 Biscayne Blvd., Miami, FL 33132.
 9         7.    Defendant Kenvue Inc. is an Delaware consumer health company, and
10   formerly the consumer healthcare division of Johnson & Johnson. Kenvue is
11   headquartered in Skillman, New Jersey. During the Class Period Kenvue acquired
12   Defendant McNeil Consumer Healthcare.
13         8.    Defendant Procter & Gamble is an Ohio corporation with its headquarters
14   and principal place of business at One Procter & Gamble Plaza, Cincinnati, Ohio
15   45202. Procter & Gamble manufactures, markets, advertises, labels, distributes and
16   sells Vicks NyQuil. Procter & Gamble may be served via its registered agent, CT
17   Corporation System, 1200 South Pine Island Rd., Plantation, FL 33324.            P&G
18   manufactures, markets, advertises, labels, distributes and sells phenylephrine products
19   under its Vicks Nyquil product line.
20         9.    Defendant Reckitt Benckiser LLC (“Reckitt”) is a Delaware limited
21   liability corporation with its headquarters and principal place of business located in
22   Parsippany, New Jersey. Reckitt is a wholly-owned subsidiary of Reckitt Benckiser
23   Group PLC, a public limited company registered in England and Wales. Reckitt
24   manufactures, markets, advertises, labels, distributes and sells phenylephrine products
25   under its Mucinex product line.
26                         INTRODUCTION AND BACKGROUND
27         10.   Collectively, Defendants J&J and Procter & Gamble marketed and sold
28 the Products to consumers in California and across the United States as an effective
     nasal decongestant.
                                           4
                                CLASS ACTION COMPLAINT
         Case Case
              2:23-cv-07737
                    MDL No. 3089
                             Document
                                 Document
                                      1 Filed
                                           1-609/15/23
                                                Filed 09/18/23
                                                        Page 5 of
                                                               Page
                                                                  42 8Page
                                                                       of 45ID #:5


 1           11.   The main so-called “active ingredient” in the Products is phenylephrine
 2 hydrochloride (“PE” or “phenylephrine”). However, “[n]o support has been found in
 3 the literature in the public domain for the efficacy of PE as a nasal decongestant when
 4 administered orally.”1
 5           12.   Another prominent active ingredient found in OTC cold and cough
 6 medicines (but not in the Products at issue in this litigation) is pseudoephedrine
 7 hydrochloride (“PDE” or “pseudoephedrine”).2 Unlike PE, “[c]linical studies of PDE
 8 provide sufficient information to support the efficacy” of PDE in OTC dosage
 9 amounts.3
10           13.   Unfortunately, Pseudoephedrine hydrochloride can be converted into
11 methamphetamine. In 2006, the Combat Methamphetamine Act, banned over-the-
12 counter sales of cold medicines that contain the ingredient pseudoephedrine. Since such
13 time, the sale of cold medicine containing pseudoephedrine is limited to behind the
14 counter. The amount of pseudoephedrine that an individual can purchase each month is
15 limited and individuals are required to present photo identification to purchase products
16 containing pseudoephedrine. In addition, stores are required to keep personal
17 information about purchasers for at least two years4.
18           14.   This has translated into increased sales for decongestants that contain PE.
19 Last year, 242 million packages or bottles of phenylephrine products were sold,
20 resulting in $1.76 billion in sales. In contrast only a little over 50 million packages of
21 pseudoephedrine were sold that same year, resulting in $542 million in sales5.
22
23
24
     1
25   https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2000711/ (last viewed Sept. 14, 2023).
     2
             https://www.mayoclinic.org/drugs-supplements/pseudoephedrine-oral-route/side-effects/drg-
26 20067942?p=1#:~:text=Pseudoephedrine%20is%20used%20to%20relieve,by%20ear%20inflammati
   on%20or%20infection (last viewed Sept. 14, 2023).
   3
27 4 https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2000711/ (last viewed Sept. 14, 2023).
           https://www.fda.gov/drugs/information-drug-class/legal-requirements-sale-and-purchase-drug-
   products-containing-pseudoephedrine-ephedrine-and
28 5
     https://www.webmd.com/drug-medication/news/20230913/popular-otc-decongestant-
   ineffective#:~:text=According%20to%20the%20FDA's%20review,in%20%24542%20million%20in
   %20sales.
                                                   5
                                    CLASS ACTION COMPLAINT
         Case Case
              2:23-cv-07737
                    MDL No. 3089
                             Document
                                 Document
                                      1 Filed
                                           1-609/15/23
                                                Filed 09/18/23
                                                        Page 6 of
                                                               Page
                                                                  42 9Page
                                                                       of 45ID #:6


 1                     1. The Financial Significance of a GRASE Designation
 2                     for Defendants
 3           15.   As discussed below, the FDA has previously designated PE as generally
 4 recognized as safe and effective (“GRASE”), despite the lack of peer-reviewed
 5 scientific evidence to support PE’s efficacy as an oral decongestant. However, after a
 6 two-day meeting on September 11-12, 2023, the FDA concluded that the scientific data
 7 do not support a GRASE designation for PE as an ingredient in cough and cold OTC
 8 medications.
 9           16.   An FDA GRASE designation permits pharmaceutical products companies
10 (like Defendants) to market products (like Sudafed PE, Vicks NyQuil, and Mucinex)
11 that contain GRASE ingredients directly to consumers as OTC medications.
12           17.   “OTC medicines do not require a prescription and are typically freely
13 available from many kinds of retailers.”6 In the United States alone, “there are more
14 than 750,000 retail outlets that sell OTC products.”7
15           18.   In 2022, PE versions of oral cough and cold decongestant OTC
16 medications accounted for about 80% of “the $2.2 billion market,” while PDE versions
17 made up the other 20%.8
18                     2. Defendants’ Deceptive Marketing Regarding the Efficacy of their
19                       PE OTC Products
20           19.   In the many years preceding the filing of this Complaint, Defendants have
21 advertised, and continue to advertise, PE as an effective decongestant that relieves nasal
22 congestion and sinus pressure associated with colds, allergies, and other respiratory
23 conditions, even though Defendants knew or should have known that the current
24 scientific data demonstrate that oral PE is ineffective as a nasal decongestant.
25           20.   As a result of its aggressive and misleading marketing tactics, Defendants’
26
     6
27   https://www.goodrx.com/healthcare-access/medication-education/otc-isnt-always-cheaper-when-it-
   pays-to-get-a-prescription. (last visited Sept. 13, 2023).
   7
28    https://www.chpa.org/about-consumer-healthcare/research-data/otc-sales-statistics (last visited
   Sept. 13, 2023).
   8
              https://www.pbs.org/newshour/health/popular-nasal-decongestant-doesnt-actually-relieve-
   congestion-fda-advisers-say (last viewed Sept. 14, 2023).
                                                       6
                                      CLASS ACTION COMPLAINT
         CaseCase
             2:23-cv-07737
                  MDL No. 3089
                           Document
                               Document
                                    1 Filed
                                         1-609/15/23
                                             Filed 09/18/23
                                                      Page 7 Page
                                                             of 42 10Page
                                                                      of 45ID #:7


1 Products “generated nearly $1.8 billion in sales last year alone.”9
2            21.   According to Defendants, phenylephrine works by constricting blood
3 vessels in the nasal passages, which reduces swelling and congestion.
4            22.   Over the many years preceding the filing of this Complaint, Defendants
5 have made extensive claims in their marketing materials concerning the efficacy of their
6 Products.
7      23.         For Sudafed PE, these claims include:

8                        Relief from Nasal Congestion: Sudafed PE products provide
                          relief from nasal congestion associated with colds, allergies,
9                         or sinus congestion.
10                       Fast-Acting: Some Sudafed PE products are fast-acting and
                          provide rapid relief from congestion symptoms.
11                       24-Hour Relief: Sudafed PE provide up to 24 hours of relief
                          from congestion symptoms, reducing the need for frequent
12                        dosing.
13                        Sinus Pressure Relief: Sudafed PE is highly effective in
                           relieving sinus pressure in addition to congestion.
14                       Sudafed PE offers relief from multiple cold and
                           allergy symptoms, such as nasal congestion, sinus
15
                           pressure, sneezing, and runny nose.
16
17
18
19
20
21
22
23
24
25
26
27
28
     9
                    https://www.cnn.com/2023/09/12/health/phenylephrine-tablets-ineffective-fda-panel-
     says/index.html (last viewed Sept. 13, 2023).
                                                   7
                                     CLASS ACTION COMPLAINT
     CaseCase
         2:23-cv-07737
              MDL No. 3089
                       Document
                           Document
                                1 Filed
                                     1-609/15/23
                                         Filed 09/18/23
                                                  Page 8 Page
                                                         of 42 11Page
                                                                  of 45ID #:8


1
2
3
4
5
6
7
8
9
10
11
12        24.   For Vicks Nyquil these claims include:
13
                 fast, powerful, maximum strength 9-symptom relief to
14                treat… stuffy nose…sinus congestion.
15               Proven relief for your worst cold and flu symptoms;
                 Effective cold and flu symptom relief.
16               The congestion, pressure & pain, clear your head,
17                medicine.
                 Fast Relief- Clear your head with fast acting nighttime
18                relief.
19               Powerful congestion, pressure and pain relief.
                 Maximum strength sinus relief.
20
                 Fast, powerful cold and congestion relief.
21
22
23
24
25
26
27
28


                                         8
                              CLASS ACTION COMPLAINT
     CaseCase
         2:23-cv-07737
              MDL No. 3089
                       Document
                           Document
                                1 Filed
                                     1-609/15/23
                                         Filed 09/18/23
                                                  Page 9 Page
                                                         of 42 12Page
                                                                  of 45ID #:9


1
2
3
4
5
6
7
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                         9
                              CLASS ACTION COMPLAINT
     Case 2:23-cv-07737
          Case MDL No. 3089
                        Document
                             Document
                                 1 Filed
                                       1-6
                                         09/15/23
                                            Filed 09/18/23
                                                    Page 10 Page
                                                            of 42 13Page
                                                                     of 45ID #:10


1
2         24.    For Mucinex, these claims include:
3                     Clears sinus congestion.
4                     Relieve sinus pressure.
5                     Starts to break up Sinus Symptoms with Just 1 Dose.
                      3 maximum strength medicines help thin and loosen
6                      mucus, clear nasal passages and sinus congestion
7
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                           10
                                CLASS ACTION COMPLAINT
     Case 2:23-cv-07737
          Case MDL No. 3089
                        Document
                             Document
                                 1 Filed
                                       1-6
                                         09/15/23
                                            Filed 09/18/23
                                                    Page 11 Page
                                                            of 42 14Page
                                                                     of 45ID #:11


 1 The History of PE’s GRASE Designation
 2          25.     The FDA “first approved phenylephrine as a safe and effective [OTC]
 3 decongestant in the 1970s.”10 In 1994, the FDA issued a final monograph establishing
 4 conditions under which OTC nasal decongestant drug products are generally recognized
 5 as safe and effective (“GRASE”) and not misbranded. (Exh. A, p. 31.) Phenylephrine
 6 is included in the final monograph as an OTC oral nasal decongestant.11
 7          26.     In or around 2006, OTC pharmaceutical products manufacturers, including
 8 Defendants, began replacing the ingredient pseudoephedrine in their products with
 9 phenylephrine, in response to the passing of a law “requiring all pseudoephedrine
10 products be kept behind pharmacy counters.”12,13
11          27.     In or around 2007, “researchers at the University of Florida petitioned the
12 government to examine” the use of phenylephrine in popular OTC cold medications,
13 “arguing that there is little evidence the reformulated products [containing PE instead
14 of PDE] work in adults or are safe in children.”14 In response, the FDA held a meeting
15 where it “ask[ed] a panel of outside experts whether new formulations of Sudafed and
16 other [OTC] cold medications actually relieve nasal congestion.”15
17          28.     At this 2007 meeting, the “advisory panel told the FDA that evidence oral
18 phenylephrine worked was ‘murky’ and ‘not definitive’ and recommended further
19 study.”16 Nevertheless, upon the conclusion of the 2007 meeting, the FDA determined
20
     10
21                        https://www.cato.org/blog/after-50-years-fda-finds-out-oral-phenylephrine-doesnt-
     work#:~:text=The%20FDA%20first%20approved%20phenylephrine,counter%20decongestant%20i
22   n%20the%201970s (last viewed Sept. 14, 2023).
     11
        Phenylephrine “was approved by the FDA based on in-house studies provided by pharmaceutical
23   companies, not as a result of clinical trials.” https://www.drugs.com/medical-answers/difference-
     between-phenylephrine-pe-3509033/ (last viewed Sept. 14, 2023).
     12
24                 https://www.nbcnews.com/health/health-news/fda-panel-study-reformulated-cold-meds-
     flna1c9464568 (last viewed Sept. 14, 2023).
     13
25      See also, https://abcnews.go.com/Health/ColdFlu/story?id=4002807&page=1 (last viewed Sept. 14,
     2023) (“Sudafed and other OTC medicines “switched” to phenylephrine “from pseudoephedrine” in
26   response to a “law passed in 2006 [] aimed at curbing the illegal processing of pseudoephedrine into
     the stimulant methamphetamine.”).
     14
27                 https://www.nbcnews.com/health/health-news/fda-panel-study-reformulated-cold-meds-
     flna1c9464568 (last viewed Sept. 14, 2023).
     15
28      Id.
     16
                          https://www.cato.org/blog/after-50-years-fda-finds-out-oral-phenylephrine-doesnt-
     work#:~:text=The%20FDA%20first%20approved%20phenylephrine,counter%20decongestant%20i
     n%20the%201970s (last viewed Sept. 14, 2023).
                                                       11
                                        CLASS ACTION COMPLAINT
     Case 2:23-cv-07737
          Case MDL No. 3089
                        Document
                             Document
                                 1 Filed
                                       1-6
                                         09/15/23
                                            Filed 09/18/23
                                                    Page 12 Page
                                                            of 42 15Page
                                                                     of 45ID #:12


 1 phenylephrine to be GRASE, but with a clear caveat—specifically, the “FDA allowed
 2 the [OTC phenylephrine-containing] products to remain on the market pending
 3 additional research.”17 To reiterate, PE, unlike PDE, “was approved by the FDA based
 4 not on results from clinical trials, but studies conducted by pharmaceutical companies
 5 themselves.”18
 6 No Need for Further Study: the FDA Exposes the Inefficacy of PE Oral
 7 Decongestants
 8          29.    Years after the FDA reaffirmed PE’s GRASE designation in 2007, the
 9 FDA issued a new report detailing the efficacy (or, rather, lack thereof) of oral PE “as
10 an active ingredient in [OTC] couch and cold products.”19 During the FDA’s two-day
11 meeting on September 11th and 12th, 2023, it revisited studies it initially reviewed in
12 2007, and considered additional studies obtained since that time. This two-day meeting
13 was “prompted by” the “same [University of Florida] researchers who challenged
14 [PE’s] effectiveness in 2007.”20 These researchers again “petitioned the FDA to remove
15 most [PE] products based on recent studies showing [PE products] failed to outperform
16 placebo pills in patients with cold and allergy congestion.”21
17          30.    Based upon its review of past and new data, the FDA unanimously
18 concluded that the “scientific data do not support [its previous conclusion, based on
19 data supplied by pharmaceutical companies] that the recommended dosage of orally
20 administered phenylephrine is effective as a nasal decongestant.”22 A copy of the FDA’s
21 report is attached as Exhibit A.
22          31.    In its re-analysis in 2023, the FDA highlighted fatal flaws in the studies it
23 previously relied upon in 2007, explaining that:
24
     17
25            https://www.pbs.org/newshour/health/popular-nasal-decongestant-doesnt-actually-relieve-
   congestion-fda-advisers-say (last viewed Sept. 14, 2023) (emphasis added).
   18
26           https://www.usatoday.com/story/news/health/2023/09/12/fda-panel-declares-decongestant-
   phenylephrine-ineffective/70835249007/ (last viewed Sept. 14, 2023).
   19
27         https://www.fda.gov/drugs/drug-safety-and-availability/fda-clarifies-results-recent-advisory-
   committee-meeting-oral-phenylephrine (last viewed Sept. 14, 2023).
   20
28            https://www.pbs.org/newshour/health/popular-nasal-decongestant-doesnt-actually-relieve-
   congestion-fda-advisers-say (last viewed Sept. 14, 2023).
   21
      Id.
   22
      Id.
                                                   12
                                    CLASS ACTION COMPLAINT
     Case 2:23-cv-07737
          Case MDL No. 3089
                        Document
                             Document
                                 1 Filed
                                       1-6
                                         09/15/23
                                            Filed 09/18/23
                                                    Page 13 Page
                                                            of 42 16Page
                                                                     of 45ID #:13


 1
                    [w]hen considering the studies through a modern drug
 2                  review lens, all of the studies (both positive and negative)
                    were highly problematic in both design and
 3                  methodology. All used a highly variable endpoint (NAR)
                    to study a drug in the setting of a highly variable disease
 4                  state (the common cold) that is no longer used as a primary
                    endpoint to evaluate congestion in pivotal trials.23 Further,
 5                  all the positive studies (and most of the negative studies)
                    were unpublished and therefore never peer-reviewed. Six of
 6                  the seven positive studies came from a single study center
                    (funded by the manufacturer of Neo-Synephrine), were very
 7                  small in size, and (except in one instance) the results could
                    not be duplicated at two other study centers (also funded by
 8                  the same manufacturer) that used a similar study design and
                    methodology. (emphasis added).
 9
                    (Exh. A., p. 55 (emphasis added).)
10
11          32.     The FDA also mentioned a 2017-2018 study conducted by Defendant J&J
12 that suggested that oral PE products have “no beneficial effect when compared with [a]
13 placebo.” (Exh. A., p. 53.)
14          33.     For these and other reasons, the FDA unanimously declared on September
15 12, 2023 that phenylephrine, the active ingredient in the Products, is an ineffective
16 decongestant. (See, e.g., Exh. A., p. 55 (the available data do not support “the efficacy
17 of monographed doses of oral PE”).)
18          34.     The FDA’s 2023 report is supported by large clinical trials disproving PE’s
19 efficacy.24 Those studies provide evidence of the absence of a decongestant effect from
20 the OTC approved doses of 10 mg. For example:
21   23
        The FDA’s Guidance for Industry on Developing Drug Products for Treatment of Allergic Rhinitis
22   recommends use of symptom scores for the primary endpoint in clinical trials. See FDA, 2018,
     Guidance for Industry; Allergic Rhinitis: Developing Drug Products for Treatment,
23   https://www.fda.gov/regulatory-information/search-fda-guidance-documents/allergic-rhinitis-
     developing-drugproducts-treatment-guidance-industry (hereafter “FDA Guidance for Industry
24   (2018)”).
     24
        See, e.g., Gelotte, CK and BA Zimmerman, 2015, Pharmacokinetics, safety, and cardiovascular
25   tolerability of phenylephrine HCl 10, 20, and 30 mg after a single oral administration in healthy
     volunteers, Clin Drug Investig, 35(9):547-558; Day, JH, MP Briscoe, JD Ratz, M Danzig, and R Yao,
26   2009, Efficacy of loratadine-montelukast on nasal congestion in patients with seasonal allergic rhinitis
     in an environmental exposure unit, Ann Allergy Asthma Immunol, 102(4):328-338; Horak, F, P
27   Zieglmayer, R Zieglmayer, P Lemell, R Yao, H Staudinger, and M Danzig, 2009, A placebo-
     controlled study of the nasal decongestant effect of phenylephrine and pseudoephedrine in the Vienna
28   Challenge Chamber, Ann Allergy Asthma Immunol, 102(2):116-120; Meltzer, EO, PH Ratner, and T
     McGraw, 2015, Oral phenylephrine HCl for nasal congestion in seasonal allergic rhinitis: A
     randomized, open-label, placebo-controlled study, J Allergy Clin Immunol Pract, 3(5):702-708;
     (footnote continued)
                                                      13
                                       CLASS ACTION COMPLAINT
     Case 2:23-cv-07737
          Case MDL No. 3089
                        Document
                             Document
                                 1 Filed
                                       1-6
                                         09/15/23
                                            Filed 09/18/23
                                                    Page 14 Page
                                                            of 42 17Page
                                                                     of 45ID #:14


 1                   Horak et al (2009) found that PE was not significantly different from
 2                     placebo in the mean change in subjective nasal congestion scores
 3                     whereas pseudoephedrine, a positive control in the study, decreased
 4                     congestion significantly greater than placebo and PE.
 5                   Day et al (2009) similarly reported no difference between PE and
 6                     placebo with respect to decreased nasal congestion scores.
 7                   Gelotte and Zimmerman (2015) likewise reported a lack of local
 8                     decongestion effect of PE, finding that doses up to three times the
 9                     labeled OTC for oral phenylephrine are unlikely to be effective as a
10                     nasal decongestant.
11          35.     Thus, the results of several studies reported after the initial efficacy
12    determination of the Products in 2007 clearly demonstrate that PE is no more
13    effective than placebo in decreasing nasal congestion and, thus, lacks efficacy.
14 Defendants Knew or Should Have Known that their PE OTC Product Claims
15 Were Misleading and False
16          36.     As of 2007, nasal airway resistance (“NAR”) was the principle
17 methodology used to assess the effectiveness of oral PE. This methodology used
18 measurements of airflow and air pressure in the nasal passage to calculate NAR as an
19 indirect measure of the level of nasal congestion.
20          37.     However, in 2018, the FDA issued new guidance for industry as it related
21 to the use of nasal congestion symptom scores to evaluate congestion,25 meaning that
22 NAR was no longer used as a primary endpoint to evaluate congestion in studies.
23          38.     Based on the FDA’s new 2018 guidance, Defendants knew or should have
24 known that their marketing claims regarding the Products’ efficacy were false and
25 misleading. This is because the primary endpoint for evaluating the efficacy of the
26
27
   Meltzer, EO, PH Ratner, and T McGraw, 2016, Phenylephrine hydrochloride modified-release tablets
28 for nasal congestion: a randomized, placebo-controlled trial in allergic rhinitis patients, Ann Allergy
   Asthma Immunol, 116(1):66-71.
   25
      FDA Guidance for Industry (2018).

                                                 14
                                      CLASS ACTION COMPLAINT
     Case 2:23-cv-07737
          Case MDL No. 3089
                        Document
                             Document
                                 1 Filed
                                       1-6
                                         09/15/23
                                            Filed 09/18/23
                                                    Page 15 Page
                                                            of 42 18Page
                                                                     of 45ID #:15


 1 Products had changed since the FDA’s 2007 NDAC meeting, meaning that the previous
 2 data under which the Products were approved as GRASE no longer supported efficacy.
 3        39.    Additionally,   Defendants—as      manufacturers    of   OTC     PE-based
 4 Products—knew or should have known that there have been no published studies since
 5 the FDA’s revised 2008 guidance for the industry released which demonstrate the
 6 effectiveness of oral PE as a decongestant. Rather, the body of scientific literature has
 7 consistently shown oral PE to be clinically ineffective.
 8        40.    Accordingly, Defendants knew or should have known by at least 2018 that
 9 their marketing claims regarding the Products’ efficacy were false and misleading.
10        41.    Additionally, consumers routinely reported that such products lacked
11 efficacy via consumer complaints submitted, inter alia, on the Defendants’ websites
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                            15
                                 CLASS ACTION COMPLAINT
     Case 2:23-cv-07737
          Case MDL No. 3089
                        Document
                             Document
                                 1 Filed
                                       1-6
                                         09/15/23
                                            Filed 09/18/23
                                                    Page 16 Page
                                                            of 42 19Page
                                                                     of 45ID #:16


 1
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14
           42. Plaintiff and the class members purchased the Products in reliance on
15
     Defendants’ false and deceptive marketing claims.
16
           43.   As a result of Defendants’ false and deceptive marketing, Plaintiff and the
17
     class members suffered economic damages, including the cost of purchasing the
18
     Products.
19                  TOLLING OF THE STATUTE OF LIMITATIONS,
                 FRAUDULENT CONCEALMENT, EQUITABLE TOLLING,
20                       AND CONTINUING VIOLATIONS
21         25.   Plaintiff did not discover, and could not have discovered through the
22 exercise of reasonable diligence, the existence of the claims sued upon herein until
23 immediately prior to commencing this civil action.
24         26.   Any applicable statutes of limitation have been tolled by Defendants’
25 affirmative acts of fraudulent concealment and continuing misrepresentations, as the
26 facts alleged above reveal.
27         27.   Because of the self-concealing nature of Defendants’ actions and their
28 affirmative acts of concealment, Plaintiff and the Classes assert the tolling of any


                                           16
                                CLASS ACTION COMPLAINT
     Case 2:23-cv-07737
          Case MDL No. 3089
                        Document
                             Document
                                 1 Filed
                                       1-6
                                         09/15/23
                                            Filed 09/18/23
                                                    Page 17 Page
                                                            of 42 20Page
                                                                     of 45ID #:17


 1 applicable statutes of limitations affecting the claims raised herein.
 2         28.    Defendants continue to engage in the deceptive practice, and consequently,
 3 unwary consumers are injured on a daily basis by Defendants’ unlawful conduct.
 4 Therefore, Plaintiff and the Classes submit that each instance that Defendants engaged
 5 in the conduct complained of herein and each instance that a member of any Class
 6 purchased Defendants’ Product constitutes part of a continuing violation and operates
 7 to toll the statutes of limitation in this action.
 8         29.    Defendants are estopped from relying on any statute of limitations defense
 9 because of their unfair or deceptive conduct.
10         30.    Defendants’ conduct was and is, by its nature, self-concealing. Still,
11 Defendants, through a series of affirmative acts or omissions, suppressed the
12 dissemination of truthful information regarding their illegal conduct, and actively have
13 foreclosed Plaintiff and the Classes from learning of their illegal, unfair, and/or
14 deceptive acts. These affirmative acts included concealing that the Product is
15 pasteurized.
16       31. By reason of the foregoing, the claims of Plaintiff and the Classes are
17 timely under any applicable statute of limitations, pursuant to the discovery rule, the
18 equitable tolling doctrine, and fraudulent concealment.
19                                CLASS ALLEGATIONS
20         44.    Plaintiff brings this action on behalf of herself and all other similarly
21 situated class members (the “Class” or “Classes”) pursuant to Rule 23(a), (b)(2) and
22 (b)(3) of the Federal Rules of Civil Procedure and seeks certification of the following
23 Class against Defendants for violations of California state laws and/or similar laws in
24 other states:
25
                  Multi-State Classes
26
                  The “McNeill/J&J Nationwide Class”
27                All consumers who purchased an oral nasal decongestant
                  containing phenylephrine manufactured by Defendants
28                McNeill Consumer Healthcare/Kenvue in the United States
                  of America and its territories from September 13, 2018, to
                  the present for personal use or consumption.
                                             17
                                  CLASS ACTION COMPLAINT
     Case 2:23-cv-07737
          Case MDL No. 3089
                        Document
                             Document
                                 1 Filed
                                       1-6
                                         09/15/23
                                            Filed 09/18/23
                                                    Page 18 Page
                                                            of 42 21Page
                                                                     of 45ID #:18


 1
                 The “P&G Nationwide Class”
 2               All consumers who purchased an oral nasal decongestant
                 containing phenylephrine manufactured by Defendant
 3               Proctor & Gamble in the United States of America and its
                 territories from September 13, 2018, to the present for
 4               personal use or consumption.
 5               The “Reckitt Nationwide Class”
                 All consumers who purchased an oral nasal decongestant
 6               containing phenylephrine manufactured by Defendant
                 Reckitt Benckiser in the United States of America and its
 7               territories from September 13, 2018 to the present for
                 personal use or consumption.
 8
                 Excluded from the Classes are Defendants, any parent
 9               companies, subsidiaries, and/or affiliates, officers, directors,
                 legal representatives, employees, co-conspirators, all
10               governmental entities, and any judge, justice or judicial
                 officer presiding over this matter.
11
12
13        45.    In the alternative, Plaintiff brings this action on behalf of herself and all
14 other similarly situated California consumers pursuant to Rule 23(a), (b)(2) and (b)(3)
15 of the Federal Rules of Civil Procedure and seeks certification of the following Sub-
16 Classes:
                 California Sub-Classes
17
18               The “McNeill/J&J Nationwide Class”
19               All consumers who purchased an oral nasal decongestant
                 containing phenylephrine manufactured by Defendants
20               McNeill Consumer Healthcare/Kenvue in the State of
21               California from September 13, 2018, to the present for
                 personal use or consumption.
22
23               The “P&G Nationwide Class”
                 All consumers who purchased an oral nasal decongestant
24               containing phenylephrine manufactured by Defendant
25               Proctor & Gamble in the State of California from September
                 13, 2018, to the present for personal use or consumption.
26
27
28
                 California Reckitt Sub-Class

                                            18
                                 CLASS ACTION COMPLAINT
     Case 2:23-cv-07737
          Case MDL No. 3089
                        Document
                             Document
                                 1 Filed
                                       1-6
                                         09/15/23
                                            Filed 09/18/23
                                                    Page 19 Page
                                                            of 42 22Page
                                                                     of 45ID #:19


1                 All consumers who purchased an oral nasal decongestant
                  containing phenylephrine manufactured by Defendant
2                 Reckitt Benckiser in the State of California from September
3                 13, 2018, to the present for personal use or consumption.

4                 Excluded from the Classes are Defendants, any parent
5                 companies, subsidiaries, and/or affiliates, officers, directors,
                  legal representatives, employees, co-conspirators, all
6                 governmental entities, and any judge, justice or judicial
7                 officer presiding over this matter.

8
           46.    Plaintiff reserves the right to amend the definition as the case proceeds.
9
           47.    The members of the Class are so numerous that joinder of all members of
10
     the Class is impracticable. Plaintiff is informed and believes that the proposed
11
     Class/Sub-Classes contains thousands of purchasers of Defendants’ Products who
12
     have been damaged by Defendants’ conduct as alleged herein. The precise number of
13
     Class members is unknown to Plaintiff at this time.
14
            48.   Plaintiff’s claims are typical to those of all Class members because
15
     members of the Class are similarly injured through Defendants’ uniform misconduct
16
     described above and were subject to Defendants’ deceptive marketing claims that
17
     accompanied each and every Product. Plaintiff is advancing the same claims and legal
18
     theories on behalf of h and all members of the Class/Sub-Class.
19
           49.    Plaintiff’s claims raise questions of law and fact common to all members
20
     of the Class, and they predominate over any questions affecting only individual Class
21
     members. The claims of Plaintiff and all prospective Class members involve the same
22
     alleged defect. These common legal and factual questions include the following:
23
24           (a) whether Defendants’ Products contained phenylephrine;

25           (b) whether Defendants’ marketing statements are false, misleading, or
26                objectively reasonably likely to deceive;
27
             (c) whether the alleged conduct constitutes violations of the laws asserted;
28
             (d) whether Defendants’ alleged conduct violates public policy;
                                             19
                                  CLASS ACTION COMPLAINT
     Case 2:23-cv-07737
          Case MDL No. 3089
                        Document
                             Document
                                 1 Filed
                                       1-6
                                         09/15/23
                                            Filed 09/18/23
                                                    Page 20 Page
                                                            of 42 23Page
                                                                     of 45ID #:20


1            (e) whether Defendants engaged in false or misleading advertising;
2
             (f) whether Defendants were unjustly enriched as a result of its labeling,
3
                  marketing, advertising and/or selling of the Products;
4
5            (g) whether Plaintiff and the Class members are entitled to damages

6                 and/or restitution and the proper measure of that loss; and

7            (h) whether an injunction is necessary to prevent Defendants from
8                 continuing to market and sell Products that lack efficacy.
9
           50.    Plaintiff and his counsel will fairly and adequately protect and represent
10
     the interests of each member of the class. Plaintiff has retained counsel experienced in
11
     complex litigation and class actions. Plaintiff’s counsel has successfully litigated other
12
     class action cases similar to that here and have the resources and abilities to fully litigate
13
     and protect the interests of the class. Plaintiff intends to prosecute this claim vigorously.
14
     Plaintiff has no adverse or antagonistic interests to those of the Class, nor is Plaintiff
15
     subject to any unique defenses.
16
           51.    A class action is superior to the other available methods for a fair and
17
     efficient adjudication of this controversy. The damages or other financial detriment
18
     suffered by the Plaintiff and individual Class members is relatively small compared to
19
     the burden and expense that would be entailed by individual litigation of their claims
20
     against Defendants. It would thus be virtually impossible for Plaintiff and Class
21
     members, on an individual basis, to obtain meaningful and effective redress for the
22
     wrongs done to them. Further, it is desirable to concentrate the litigation of the Class
23
     members’ claims in one forum, as it will conserve party and judicial resources and
24
     facilitate the consistency of adjudications. Plaintiff knows of no difficulty that would
25
     be encountered in the management of this case that would preclude its maintenance as
26
     a class action.
27
28         52.    The Class also may be certified because Defendants have acted or refused
     to act on grounds applicable to the Class, thereby making appropriate final declaratory
                                              20
                                   CLASS ACTION COMPLAINT
     Case 2:23-cv-07737
          Case MDL No. 3089
                        Document
                             Document
                                 1 Filed
                                       1-6
                                         09/15/23
                                            Filed 09/18/23
                                                    Page 21 Page
                                                            of 42 24Page
                                                                     of 45ID #:21


 1 and/or injunctive relief with respect to the members of the Class as a whole.
 2         53.   Plaintiff seeks preliminary and permanent injunctive and equitable relief
 3 on behalf of the entire Class, on grounds generally applicable to the entire Class, to
 4 enjoin and prevent Defendant from engaging in the acts described above, such as
 5 continuing to market and sell Products that lack efficacy, and requiring Defendants to
 6 provide a full refund of the purchase price of the Products to Plaintiff and Class
 7 members.
 8         54.   Unless a Class is certified, Defendants will retain monies received as a
 9 result of their conduct that were taken from Plaintiff and the Class members. Unless a
10 Class-wide injunction is issued, Defendants will continue to commit the violations
11 alleged and the members of the Class and the general public will continue to be misled.
12 Indeed, to this day, Defendants continues to market and sell the Products that have been
13 determined by a unanimous FDA panel to lack efficacy.
14                                  FIRST CLAIM FOR RELIEF
15               False and Misleading Advertising in Violation of California Law
16                      Business & Professions Code §17500, Et Seq.
17                   (By Plaintiff Baughman and the California Class)
18         55.   Plaintiffs re-allege and incorporate by reference each of the foregoing
19 paragraphs as if fully set forth herein.
20         56.   Plaintiff Baughman brings this Count individually on behalf of herself and
21 on behalf of the California Class.
22         57.   The California False Advertising Law prohibits the dissemination of any
23 advertisement which is untrue or misleading, and which is known, or which by exercise
24 of reasonable care should be known, to by untrue or misleading. Cal. Bus. & Prof. Code
25 §17500.
26         58.   At all material times, Defendants engaged in a scheme of offering
27 ineffective oral PE nasal decongestants to Plaintiff Baughman and other members of
28 the California Class by way of commercial marketing, advertising, internet content, and
     other promotional materials.
                                            21
                                 CLASS ACTION COMPLAINT
     Case 2:23-cv-07737
          Case MDL No. 3089
                        Document
                             Document
                                 1 Filed
                                       1-6
                                         09/15/23
                                            Filed 09/18/23
                                                    Page 22 Page
                                                            of 42 25Page
                                                                     of 45ID #:22


1         59.     Defendants’ conduct is substantially injurious to consumers. Consumers
2    are purchasing using Defendants’ Products without knowledge that they lack
3    efficacy. This conduct has caused, and continues to cause, substantial injury to
4    consumers because consumers would not have paid for nasal decongestant Products
5    that do not work as advertised but for Defendants’ false labeling, advertising, and
6    promotion.
7         60.     These materials, advertisements, and other inducements misrepresented
8    and/or omitted the true nature of the ineffective Products as alleged herein.
9    Specifically, in the course of Defendant’s business, Defendant concealed and
10   suppressed material facts, including that the so-called “active ingredient”
11   phenylephrine is ineffective as a cold and cough decongestant medicine when taken
12   orally. This information is not disclosed on Defendants’ Products’ label.
13        61.     As set forth above, Defendant labels its products as providing relief for
14   nasal congestion when, in fact, the Contaminated Products are no more effective than
15   a placebo pill.
16        62.     Defendant knew, or in the exercise of reasonable care should have known,
17   that the statements regarding its advertisements and other inducements regarding its
18   Products were false, misleading, and/or deceptive.
19        63.     Yet, as demonstrated in the FDA’s September 11-12, 2023 report and the
20   clinical trials referenced herein, Defendant sold OTC nasal decongestant Products that
21   failed to provide relief for cough and cold symptoms as advertised. Based on the FDA’s
22   2018 guidance regarding NAR, as well as readily available scientific data, Defendant
23   knew or should have known that its Products containing PE were ineffective as
24   decongestant medicine.
25        64.     The above acts of Defendants, in disseminating said misleading and
26   deceptive statements throughout the State of California to consumers, including to
27   Plaintiff Baughman and the other members of the California Class, were and are likely
28   to deceive reasonable consumers by obfuscating the true nature of the so-called “active
     ingredient” in Defendants’ PE-based decongestants, and thus were violations of Cal.
                                            22
                                 CLASS ACTION COMPLAINT
     Case 2:23-cv-07737
          Case MDL No. 3089
                        Document
                             Document
                                 1 Filed
                                       1-6
                                         09/15/23
                                            Filed 09/18/23
                                                    Page 23 Page
                                                            of 42 26Page
                                                                     of 45ID #:23


1    Bus. Prof. Code §§ 17500, et seq
2         65.    Through its deceptive and/or misleading acts and practices, Defendants
3    improperly obtained money from Plaintiff Baughman the other members of the
4    California Class. But for Defendants’ misrepresentations and omissions, Plaintiff and
5    Class members would have paid nothing for Products that do not work as advertised.
6    Indeed, there is no discernible “market” for an over-the-counter nasal decongestant
7    that is no more effective than a placebo at decreasing congestion. As a result, the
8    Defendant’s Products are rendered valueless.
9         66.     Pursuant to Business & Professions Code §§17203 and 17535, Plaintiff
10   Baughman seeks, on behalf of herself and the other members of the California Class,
11   an order of this Court awarding Plaintiff Baughman the other members of the
12   California Class restitution of the money wrongfully acquired by Defendants and
13   enjoining Defendants from continuing to violate California’s False Advertising Law.
14   Plaintiff Baughman further seeks prejudgment interest on the money wrongfully
15   acquired and withheld by Defendants pursuant to California Civil Code §3287(a) and
16   attorneys’ fees and costs pursuant to California Code Civil Procedure §1021.5.
17                              SECOND CLAIM FOR RELIEF
18                  Unfair Businesses Practices in Violation of California Law
19                       Business & Professions Code §17200, et seq.
20                    (By Plaintiff Baughman and the California Class)
21        67.    Plaintiffs re-allege and incorporate by reference each of the foregoing
22   paragraphs as if fully set forth herein.
23        68.     Plaintiff Baughman brings this Count individually on behalf of herself and
24   on behalf of the California Class.
25        69.     California Business & Professions Code § 17200 prohibits acts of “unfair
26   competition,” including any “unlawful, unfair or fraudulent business act or practice”
27   and “unfair, deceptive, untrue or misleading advertising.”
28        70.     The acts and practices of Defendants as alleged herein constitute “unfair”
     business acts and practices under the California Unfair Competition Law in that
                                             23
                                  CLASS ACTION COMPLAINT
     Case 2:23-cv-07737
          Case MDL No. 3089
                        Document
                             Document
                                 1 Filed
                                       1-6
                                         09/15/23
                                            Filed 09/18/23
                                                    Page 24 Page
                                                            of 42 27Page
                                                                     of 45ID #:24


 1   Defendants’ conduct is unconscionable, immoral, deceptive, unfair, illegal, unethical,
 2   oppressive, and/or unscrupulous. Further, the gravity of Defendants’ conduct
 3   outweighs any conceivable benefit of such conduct.
 4         71.       Defendants have been committing, and continue to commit, acts of unfair
 5   competition by engaging in the unlawful, unfair and fraudulent business practices and
 6   acts described in this Complaint, including, but not limited to:
 7               a. Making false and misleading statements and material omissions including,
 8                  as set forth above, representing that the Products provide relief from nasal
 9                  congestion associated with colds, allergies, or sinus congestion when, in
10                  fact, they are no more effective than a placebo.
11               b. Concealing and failing to disclose the true nature of PE as ineffective for
12                  decongestion relief when taken orally, as demonstrated in the FDA’s
13                  September 11-12, 2023 report and the scientific studies discussed herein;
14               c. Engaging in conduct, as alleged herein, where the utility of such conduct
15                  is outweighed by the gravity of the consequences to Plaintiff Baughman
16                  and other members of the California Class;
17               d. Engaging in conduct, as alleged herein, that is immoral, unethical,
18                  oppressive, unscrupulous, or substantially injurious to Plaintiff Baughman
19                  and other members of the California Class; and
20               e. Engaging in conduct, as alleged herein, that undermines or violates state
21                  consumer protection laws.
22         72.      Plaintiff Baughman reserves the right to identify additional unfair,
23 fraudulent, and unlawful practices by Defendants as further investigation and discovery
24 warrants.
25         73.      As a result of its unlawful, unfair, and/or fraudulent business acts and
26 practices, Defendants have reaped and continue to reap unfair benefits and illegal profits
27 at the expense of Plaintiff Baughman and other members of the California Class.
28 Defendants’ unlawful, unfair, and/or fraudulent conduct has also enabled Defendants
     to gain an unfair competitive advantage over their law-abiding competitors.
                                              24
                                   CLASS ACTION COMPLAINT
     Case 2:23-cv-07737
          Case MDL No. 3089
                        Document
                             Document
                                 1 Filed
                                       1-6
                                         09/15/23
                                            Filed 09/18/23
                                                    Page 25 Page
                                                            of 42 28Page
                                                                     of 45ID #:25


 1        74.    Plaintiff Baughman and other members of the California Class have
 2 suffered injury in fact and have lost money as a result of Defendants’ unfair, fraudulent
 3 and unlawful business acts or practices because they purchased Products from
 4 Defendants in reliance on Defendants’ misrepresentation that the Products were
 5 effective.
 6        75.    The above-described unfair business acts or practices present a threat and
 7 likelihood of harm and deception to Plaintiff Baughman other members of the
 8 California Class in that Defendants have systematically perpetrated the unfair,
 9 fraudulent and unlawful conduct upon members of the public by engaging in the
10 conduct described herein, thereby making billions of dollars in profits from the sale of
11 its ineffective phenylephrine-based Products.
12        76.    Business and Professions Code §17203 provides that the Court may restore
13 to an aggrieved party any money or property acquired by means of the unlawful, unfair,
14 and/or fraudulent business acts or practices.
15        77.    Plaintiff Baughman seeks, on behalf of herself and the other members of
16 the California Class, an order of this Court awarding Plaintiff Baughman and the other
17 members of the California Class restitution of the money wrongfully acquired by
18 Defendants and enjoining Defendants from the unlawful, unfair, and/or fraudulent
19 activity alleged herein. Plaintiff Baughman further seeks prejudgment interest on the
20 money wrongfully acquired and withheld by Defendants pursuant to California Civil
21 Code §3287(a) and attorneys’ fees and costs pursuant to California Code Civil
22 Procedure §1021.5.
23                             THIRD CLAIM FOR RELIEF
24              Violation of the California Consumers Legal Remedies Act
25                           California Civil Code §1750, et seq.
26                  (By Plaintiff Baughman and the California Class)
27        78.      Plaintiff re-alleges and incorporate by reference each of the foregoing
28   paragraphs as if fully set forth herein.
          79.    Plaintiff Baughman brings this Count individually on behalf of herself and
                                             25
                                  CLASS ACTION COMPLAINT
     Case 2:23-cv-07737
          Case MDL No. 3089
                        Document
                             Document
                                 1 Filed
                                       1-6
                                         09/15/23
                                            Filed 09/18/23
                                                    Page 26 Page
                                                            of 42 29Page
                                                                     of 45ID #:26


1    on behalf of the California Class.
2         80.     The California Consumers Legal Remedies Act was enacted to protect
3    consumers against unfair and deceptive business practices. The California Consumers
4    Legal Remedies Act declares unfair methods of competition and unfair or deceptive
5    acts or practices undertaken by any person in a transaction intended to result or that
6    results in the sale or lease of goods to any consumer as unlawful. Cal. Civ. Code §
7    1770(a).
8         81.    Plaintiff Baughman and the members of the California Class are
9    “consumers” within the meaning of section 1761(d) of the California Civil Code, and
10   engaged in “transactions” within the meaning of sections 1761(e) and 1770 of the
11   California Civil Code, including the purchases of the ineffective phenylephrine-based
12   Products.
13        82.    The Products purchased by Plaintiff Baughman and the members of the
14   California Class constitute “goods” under Civil Code §1761(a).
15        83.     Defendants’ conduct of manufacturing, producing, and selling the
16   ineffective PE-based decongestant Products as alleged herein violates the California
17   Consumers Legal Remedies Act including, but not limited to:
18        (2) Misrepresenting the source, sponsorship, approval, or certification of
19        goods or services; …
20        (5) Representing that goods or services have sponsorship, approval,
21        characteristics, ingredients, uses, benefits, or quantities that they do not
          have; …
22
          (6) Representing that goods are original or new if they have deteriorated
23        unreasonably or are altered, reconditioned, reclaimed, used, or
24        secondhand; …
25        (7) Representing that goods or services are of a particular standard, quality,
26        or grade, or that goods are of a particular style or model, if they are of
          another;
27
          (9) Advertising goods or services with intent not to sell them as advertised;
28
          and

                                            26
                                 CLASS ACTION COMPLAINT
     Case 2:23-cv-07737
          Case MDL No. 3089
                        Document
                             Document
                                 1 Filed
                                       1-6
                                         09/15/23
                                            Filed 09/18/23
                                                    Page 27 Page
                                                            of 42 30Page
                                                                     of 45ID #:27


1          (14) Representing that a transaction confers or involves rights, remedies,
           or obligations that it does not have or involve, or that are prohibited by
2          law.
3
     Cal. Civ. Code § 1770.
4
5          84.    Defendants fraudulently deceived Plaintiff Baughman and the members of
6    the California Class by representing that the Products have certain characteristics,
7    benefits, uses and qualities which they do not have.        In doing so, Defendants
8    intentionally misrepresented and concealed material facts from Plaintiff Baughman
9    and the members of the California Class, including but not limited to that the Products
10   provide meaningful, measurable relief from nasal decongestion when in reality the
11   Products are no more effective than a placebo at decreasing congestion. Said
12   misrepresentations and concealment were done with the intention of deceiving Plaintiff
13   Baughman and the members of the California Class and depriving them of their legal
14   rights and money. Plaintiff Baughman and the members of the California Class
15   reasonably relied upon misrepresentations, misleading statements, deceptive practices,
16   omissions, and false promises by Defendants, which resulted in injury to them.
17         85.    Defendants knew or should have known that phenylephrine—the so-called
18   “active” ingredient in the Products—did not provide consumers with any relief from
19   nasal congestion, as demonstrated by the FDA’s 2023 report and readily available
20   scientific data.
21         86.    Defendant concealed and suppressed material facts, including that orally
22   administered phenylephrine is demonstrably ineffective for providing any
23   decongestive relief. This information was not disclosed on the Products’ label.
24         87.     Defendants’ violations of Civil Code § 1770 as described above present a
25   continuing threat to the members of the California Class and members of the public in
26   that Defendants continue to engage in these practices, and will not cease until an
27   injunction is issued by the Court.
28         88.   Plaintiff Baughman and the members of the California Class have suffered
     ascertainable losses of money because of Defendants’ unlawful conduct. The actual
                                            27
                                 CLASS ACTION COMPLAINT
     Case 2:23-cv-07737
          Case MDL No. 3089
                        Document
                             Document
                                 1 Filed
                                       1-6
                                         09/15/23
                                            Filed 09/18/23
                                                    Page 28 Page
                                                            of 42 31Page
                                                                     of 45ID #:28


1    out-of-pocket losses of Plaintiff Baughman and the members of the California Class
2    were proximately caused by Defendants’ violations of the California Consumers Legal
3    Remedies Act.
4         89.   Pursuant to California Civil Code §1780(a) of the California Consumers
5    Legal Remedies Act, Plaintiff Baughman seeks injunctive relief in the form of an order
6    enjoining the above-described wrongful acts and practices of Defendants including,
7    but not limited to, an order enjoining Defendants from distributing such false
8    advertising and misrepresentations. Plaintiff Baughman and the members of the
9    California Class shall be irreparably harmed if such an order is not granted.
10        90.   Plaintiff Baughman is in the process of complying with the requirements
11   of California Civil Code §1782(a) and thus, does not yet seek damages under the
12   California Consumers Legal Remedies Act or attorneys’ fees and costs pursuant to
13   California Civil Code §1780(d). However, Plaintiff Baughman intends to amend her
14   complaint to add such claims once she has so complied.
15                             FOURTH CAUSE OF ACTION
16                                 UNJUST ENRICHMENT
17    (By Plaintiff Baughman behalf of herself, the California Classes and the Multi-
18                                        State Classes
19                                     Against all Defendants)
20        91.    Plaintiff Baughman repeats and realleges the allegations set forth in the
21   preceding paragraphs and incorporates the same as if set forth herein at length.
22        92.    Plaintiff Baughman brings this claim individually, as well as on behalf of
23   members of the Multi-State Classes and California Classes pursuant to California law.
24   Although there are numerous permutations of the elements of the unjust enrichment
25   cause of action in the various states, there are few real differences. In all states, the
26   focus of an unjust enrichment claim is whether the Defendants was unjustly enriched.
27   At the core of each state’s law are two fundamental elements – the defendant received
28   a benefit from the Plaintiff and the members of the Multi-State and California Classes
     and it would be inequitable for the Defendants to retain that benefit without
                                            28
                                 CLASS ACTION COMPLAINT
     Case 2:23-cv-07737
          Case MDL No. 3089
                        Document
                             Document
                                 1 Filed
                                       1-6
                                         09/15/23
                                            Filed 09/18/23
                                                    Page 29 Page
                                                            of 42 32Page
                                                                     of 45ID #:29


 1   compensating the Plaintiffs. The focus of the inquiry is the same in each state. Since
 2   there is no material conflict relating to the elements of unjust enrichment between the
 3   different jurisdictions from which class members will be drawn, California law applies
 4   to the claims of the Class.
 5         93.   In the alternative, Plaintiff Baughman brings this claim individually as
 6   well as on behalf of the California Classes.
 7         94.   At all times relevant hereto, Defendants deceptively labeled, marketed,
 8   advertised, and sold the Products to Plaintiff Baughman and the Multi-State and
 9   California Classes.
10         95.   The Plaintiff and members of the Multi-State and California Classes
11   conferred upon Defendants non-gratuitous payments for Products that they would not
12   have due to Defendants’ deceptive labeling, advertising, and marketing. Defendants
13   accepted or retained the non-gratuitous benefits conferred by the Plaintiff and members
14   of the Multi-State and California Classes, with full knowledge and awareness that, as
15   a result of Defendants’ deception, Plaintiff and members of the Multi-State and
16   California Class were not receiving a product of the quality, nature, fitness, or value
17   that had been represented by Defendants and reasonable consumers would have
18   expected.
19         96.   Defendants have been unjustly enriched in retaining the revenues derived
20   from purchases of the Products by Plaintiff and members of the Multi-State and
21   California Classes, which retention under these circumstances is unjust and inequitable
22   because the Products are ineffective.
23         97.   Retaining the non-gratuitous benefits conferred upon Defendants by the
24   Plaintiff and members of the Multi-State and California Classes under these
25   circumstances made Defendants’ retention of the non-gratuitous benefits unjust and
26   inequitable. Thus, Defendants must pay restitution to the Plaintiff and members of the
27   Multi-State and California Classes for their unjust enrichment, as ordered by the Court.
28 / / /


                                              29
                                   CLASS ACTION COMPLAINT
     Case 2:23-cv-07737
          Case MDL No. 3089
                        Document
                             Document
                                 1 Filed
                                       1-6
                                         09/15/23
                                            Filed 09/18/23
                                                    Page 30 Page
                                                            of 42 33Page
                                                                     of 45ID #:30


1                                 FIFTH CAUSE OF ACTION
2                             BREACH OF IMPLIED WARRANTY
3    (By Plaintiff on Behalf of Herself and the California Classes and the Multi-State
4                                 Classes Against All Defendants)
5             98.   Plaintiff repeats and realleges the allegations set forth in the preceding
6    paragraphs and incorporates the same as if set forth herein at length.
7             99.   Plaintiff brings this Count individually under the laws of California and on
8    behalf of the Multi-State Classes (in states having similar laws regarding implied
9    warranties).
10            100. The Uniform Commercial Code §2-314 provides that unless excluded or
11   modified, a warranty that the goods shall be merchantable is implied in a contract for
12   their sale if the seller is a merchant with respect to goods of that kind. This implied
13   warranty of merchantability acts as a guarantee by the seller that his goods are fit for
14   the ordinary purposes for which they are to be used.
15            101. The Uniform Commercial Code §2-314 provides that “[g]oods to be
16   merchantable must be at least such as…. Are adequately contained, packaged, and
17   labeled as the agreement may require…[and] conform to the promises or affirmations
18   of fact made on the container or label if any.” Cal.Com.Code § 2314(2)(f).
19            102. Defendants are in the business of manufacturing, marketing, advertising,
20   warranting, and selling the Products. Defendants impliedly warranted to Plaintiffs (and
21   to Plaintiffs’ agents) that the Products were of a certain quality, free from defects and
22   fit for the ordinary purpose for which they were sold and confirmed to the standards of
23   trade.
24            103. But the Products are in fact unfit for ordinary use and were not of
25   merchantable quality as warranted by Defendants.
26            104. Defendants have failed to provide adequate remedies under their implied
27   warranties, which have caused these implied warranties to fail their essential purpose,
28   thereby permitting remedies under these implied warranties.
              105. Defendants have not sufficiently (meaning specifically and conspicuously)
                                              30
                                   CLASS ACTION COMPLAINT
     Case 2:23-cv-07737
          Case MDL No. 3089
                        Document
                             Document
                                 1 Filed
                                       1-6
                                         09/15/23
                                            Filed 09/18/23
                                                    Page 31 Page
                                                            of 42 34Page
                                                                     of 45ID #:31


1    disclaimed the implied warranty of merchantability.
2         106. At all times, the following states listed below, including the District of
3    Columbia, have codified and adopted the provisions of the Uniform Commercial Code
4    governing the implied warranty of merchantability:
5         a.     Ala. Code §7-2-314;
6         b.     Alaska Stat. §45.02.314;
7         c.     Ariz. Rev. Stat. Ann. §47-2314;
8         d.     Ark. Code Ann. §4-2-314;
9         e.     Cal. Com. Code §2314;
10        f.     Colo. Rev. Stat. §4-2-314;
11        g.     Conn. Gen. Stat. Ann. §42a-2-314;
12        h.     Del. Code Ann. tit. 6 §2-314;
13        i.     D.C. Code §28:2-314;
14        j.     Fla. Stat. §672.314;
15        k.     Ga. Code Ann. §11-2-314;
16        l.     Haw. Rev. Stat. §490:2-314;
17        m.     Idaho Code §28-2-314;
18        n.     810 Ill. Comp. Stat. Ann. 5/2-314;
19        o.     Ind. Code Ann. §26-1-2-314;
20        p.     Iowa Code Ann. §554.2314;
21        q.     Kan. Stat. Ann. §84-2-314;
22        r.     Ky. Rev. Stat. Ann. §355.2-314;
23        s.     La. Civ. Code Ann. art. §2520;
24        t.     Me. Rev. Stat. Ann. 11 §2-314;
25        u.     Md. Code Ann. Com. Law §2-314;
26        v.     Mass. Gen. Laws Ch. 106 §2-314;
27        w.     Mich. Comp. Laws Ann. §440.2314;
28        x.     Minn. Stat. Ann. §336.2-314;

                                           31
                                CLASS ACTION COMPLAINT
     Case 2:23-cv-07737
          Case MDL No. 3089
                        Document
                             Document
                                 1 Filed
                                       1-6
                                         09/15/23
                                            Filed 09/18/23
                                                    Page 32 Page
                                                            of 42 35Page
                                                                     of 45ID #:32


1         y.     Miss. Code Ann. §75-2-314;
2         z.     Mo. Rev. Stat. §400.2-314;
3         aa.    Mont. Code Ann. §30-2-314;
4         bb.    Nev. Rev. Stat. §104.2314;
5         cc.    N.H. Rev. Stat. Ann. §382-A:2-314;
6         dd.    N.J. Stat. Ann. §12A:2-314;
7         ee.    N.M. Stat. Ann. §55-2-314;
8         ff.    N.Y. U.C.C. Law §2-314;
9         gg.    N.D. Cent. Code §41-02-314;
10        hh.    Okla. Stat. Ann. tit. 12A §2-314;
11        ii.    Or. Rev. Stat. §72.3140;
12        jj.    Pa. Stat. Ann. tit. 13 §2314;
13        kk.    R.I. Gen. Laws §6A-2-314;
14        ll.    S.C. Code Ann. §36-2-314;
15        mm. S.D. Codified Laws §57A-2-314;
16        nn.    Tenn. Code Ann. §47-2-314;
17        oo.    Tex. Bus. & Com. Code Ann. §2-314;
18        pp.    Utah Code Ann. §70A-2-314;
19        qq.    Va. Code Ann. §8.2-314;
20        rr.    Vt. Stat. Ann. tit. 9A §2-314;
21        ss.    W. Va. Code §46-2-314;
22        tt.    Wash. Rev. Code §62A 2-314;
23        uu.    Wis. Stat. Ann. §402.314; and
24        vv.    Wyo. Stat. Ann. §34.1-2-314.
25
          107. As developer, manufacturer, producer, advertiser, marketer, seller and/or
26
     distributor of the Products, Defendants are “merchants” within the meaning of the
27
     various states’ commercial codes governing the implied warranty of merchantability.
28
          108. Further, Defendants are merchants with respect to the Products.

                                            32
                                 CLASS ACTION COMPLAINT
     Case 2:23-cv-07737
          Case MDL No. 3089
                        Document
                             Document
                                 1 Filed
                                       1-6
                                         09/15/23
                                            Filed 09/18/23
                                                    Page 33 Page
                                                            of 42 36Page
                                                                     of 45ID #:33


1    Defendants developed, manufactured, produced, advertised, marketed, sold, and/or
2    distributed the Products.
3         109. The Products can be classified as “goods,” as defined in the various states’
4    commercial codes governing the implied warranty of merchantability.
5         110. As a merchant of the Products, Defendants knew that purchasers relied
6    upon them to develop, manufacture, produce, sell, and distribute a decongestant, as
7    promised.
8         111. Defendants developed, manufactured, produced, sold, and distributed the
9    Products to consumers such as Plaintiff and the Classes. They knew that the Products
10   would be used as as promised.
11        112. Defendants breached their implied warranties in connection with the sale
12   of the Products to Plaintiff and members of the Classes. The Products are neither
13   adequately represented nor conform to the promises or affirmations of fact.
14        113. Defendants had actual knowledge that the Products were ineffective, and
15   Plaintiff therefore was not required to notify Defendants of their breach. If notice is
16   required, Plaintiff and the Classes adequately have provided Defendants of such notice
17   through the filing of this lawsuit.
18        114. Plaintiff gave Defendants actual or constructive notice of the breaches of
19   these warranties, and Defendants have failed to cure these breaches.
20        115. As a direct and proximate result of the breaches of these implied
21   warranties, Plaintiff and the members of the Classes have suffered damages, injury in
22   fact and ascertainable loss in an amount to be determined at trial, including repair and
23   replacement costs and damages to other property. As a direct and proximate result of
24   Defendants’ breach of implied warranties, Plaintiff and other members of the Classes
25   have been injured. Plaintiff and the other members of the Classes would not have
26   purchased the Products but for Defendants’ representations and warranties.
27   Defendants misrepresented the character of the Products, which caused injuries to
28   Plaintiff and the other members of the Classes because either they paid a price premium

                                             33
                                  CLASS ACTION COMPLAINT
     Case 2:23-cv-07737
          Case MDL No. 3089
                        Document
                             Document
                                 1 Filed
                                       1-6
                                         09/15/23
                                            Filed 09/18/23
                                                    Page 34 Page
                                                            of 42 37Page
                                                                     of 45ID #:34


1    due to the deceptive representations or they purchased products that were not of a
2    character and fitness as promised and therefore had no value to Plaintiff and the other
3    members of the Classes.
4             116. Plaintiff demands judgment against Defendants for compensatory
5    damages for themselves and each class member, for the establishment of a common
6    fund, plus additional remedies as this Court deems fit.
7                                   SIXTH CAUSE OF ACTION
8                  VIOLATION OF MAGNUSON-MOSS WARRANTY ACT
9            (By Plaintiff on behalf of the Multi-State Class and/or, alternatively, the
10                     Consumer Protection Class Against All Defendants)
11            117. Plaintiff repeats and realleges the allegations set forth in the preceding
12   paragraphs and incorporates the same as if set forth herein at length.
13            118. Plaintiff seeks to represent the proposed Multi-State Class or, alternatively,
14   the Consumer Protection Subclass.
15            119. Congress enacted the Magnuson-Moss Warranty Act, 15 U.S.C. § 2301 et
16   seq., in response to widespread consumer complaints regarding misleading and
17   deceptive warranties. The Act imposes civil liability on any “warrantor” for failing to
18   comply with any obligation under written and implied warranties. 15 U.S.C. §
19   2310(d)(1).
20            120. The Products are a “consumer product,” as defined by § 2301(1).
21            121. Plaintiff, the members of the Multi-State Classes, and the members of the
22   California Subclasses are “consumers” as defined by § 2301(3).
23            122. Defendants are “warrantors” and “suppliers” as defined by §§ 2301(4) and
24   (5)..
25            123. Defendants’ warranty limitations are not sufficiently set apart by
26   underlining or highlighting. This lack of conspicuousness violates the Act and fails to
27   meet minimum federal warranty standards; thus, the warranty limitations are not
28   enforceable. See §§ 2302(a), 2304(a)(3), 2308(a), and 2308(c). The warranty
     limitations are also unconscionable as a matter of law under U.C.C. § 2-302, as adopted
                                               34
                                    CLASS ACTION COMPLAINT
     Case 2:23-cv-07737
          Case MDL No. 3089
                        Document
                             Document
                                 1 Filed
                                       1-6
                                         09/15/23
                                            Filed 09/18/23
                                                    Page 35 Page
                                                            of 42 38Page
                                                                     of 45ID #:35


1    by the class jurisdictions.
2          124. At the time Defendants issued written warranties for the Products,
3    Defendants knew and had notice that the Products were ineffective. Defendants’
4    continued misrepresentations and omissions concerning the products, as well as
5    Defendants’ failure to abide by their own written and implied warranties, are “[u]nfair
6    methods of competition in or affecting commerce, and [are] unfair or deceptive acts or
7    practices in or affecting commerce.” Accordingly, Defendants’ behavior is unlawful
8    under 15 U.S.C. §§ 2310(b), 45(a)(1).
9          125. Plaintiff seeks to recover damages caused as a direct result of Defendants’
10   breach of their written and implied warranties and their deceitful and unlawful conduct.
11   Damages include labor and costs associated with replacement of the Product and other
12   property damaged thereby.
13         126. The Act also provides for “other legal and equitable” relief. 15 U.S.C. §
14   2310(d)(1). Accordingly, Plaintiff seeks reformation of Defendants’ written warranty
15   to comport with Defendants’ obligations under the Act and with consumers’ reasonable
16   expectations. Additionally, Plaintiffs seek to enjoin Defendants from acting unlawfully
17   as further alleged, including discouraging Plaintiffs to seek all available remedies.
18         127. The Act also provides for an award of costs and expenses, including
19   attorneys’ fees, to prevailing consumers in the Court’s discretion. 15 U.S.C. §
20   2310(d)(2). Plaintiff intends to seek such an award as a prevailing consumer at the
21   conclusion of this case.
22                              SEVENTH CAUSE OF ACTION
23                       VIOLATIONS OF CONSUMER FRAUD LAWS
24          (By Plaintiff, on Behalf of Herself, the California Classes, and the Multi-
25                           State Classes against All Defendants)
26         128. Plaintiff repeats and realleges the allegations set forth in the preceding
27   paragraphs and incorporates the same as if set forth herein at length.
28         129. Plaintiff brings this Count individually under the laws of the state where
     she purchased the Products and on behalf of all other persons who purchased the
                                              35
                                   CLASS ACTION COMPLAINT
     Case 2:23-cv-07737
          Case MDL No. 3089
                        Document
                             Document
                                 1 Filed
                                       1-6
                                         09/15/23
                                            Filed 09/18/23
                                                    Page 36 Page
                                                            of 42 39Page
                                                                     of 45ID #:36


1    Products in states having similar laws regarding consumer fraud and deceptive trade
2    practices.
3         130. Plaintiff and each of the other members of the Classes are consumers,
4    purchasers, or other persons entitled to the protection of the consumer protection laws
5    of the state in which they purchased the Product.
6         131. The consumer protection laws of the State in which Plaintiff and the other
7    members of the Classes purchased the Product declare that unfair or deceptive acts or
8    practices, in the conduct of trade or commerce, are unlawful.
9         132. The following States and the District of Columbia have enacted statutes
10   designed to protect consumers against unfair, deceptive, fraudulent, and
11   unconscionable trade and business practices and false advertising and that allow
12   consumers to bring private and/or class actions. These statutes are found at:
13        a.      Alabama Deceptive Trade Practices Act, Ala. Code §8-19-1 et seq.;
14        b.      Alaska Unfair Trade Practices and Consumer Protection Act, Alaska
15                Code §45.50.471 et seq.;
16        c.      Arkansas Deceptive Trade Practices Act, Ark. Code Ann. §4-88-101 et
17                seq.;
18        d.      Arizona Consumer Fraud Act, A.R.S. §44-1521 et seq.;
19        e.      California Consumer Legal Remedies Act, Cal. Civ. Code §1750 et seq.,
20                and California’s Unfair Competition Law, Cal. Bus. & Prof. Code
21                §17200 et seq.;
22        f.      Colorado Consumer Protection Act, Colo. Rev. Stat. §6-1-101 et seq.;
23        g.      Connecticut Unfair Trade Practices Act, Conn. Gen. Stat. §42-110a et
24                seq.;
25        h.      Delaware Deceptive Trade Practices Act, Del. Code tit. 6§2511 et seq.;
26        i.      District of Columbia Consumer Protection Procedures Act, D.C. Code
27                §28 3901 et seq.;
28        j.      Florida Deceptive and Unfair Trade Practices Act, Fla. Stat. Ann.
                  §501.201 et seq.;
                                               36
                                    CLASS ACTION COMPLAINT
     Case 2:23-cv-07737
          Case MDL No. 3089
                        Document
                             Document
                                 1 Filed
                                       1-6
                                         09/15/23
                                            Filed 09/18/23
                                                    Page 37 Page
                                                            of 42 40Page
                                                                     of 45ID #:37


1         k.     Georgia Fair Business Practices Act, Ga. Code Ann. §10-1-390 et seq.;
2         l.     California Unfair and Deceptive Practices Act, California Revised
3                Statues §480-1 et seq., and California Uniform Deceptive Trade Practices
4                Act, Haw. Rev. Stat. §481A-1 et seq.;
5         m.     Idaho Consumer Protection Act, Idaho Code Ann. §48-601 et seq.;
6         n.     Illinois Consumer Fraud and Deceptive Business Practices Act, 815 Ill.
7                Comp. Stat. Ann. 505/1 et seq.;
8         o.     Kansas Consumer Protection Act, Kan. Stat. Ann §50 626 et seq.;
9         p.     Kentucky Consumer Protection Act, Ky. Rev. Stat. Ann. §367.110 et
10               seq., and the Kentucky Unfair Trade Practices Act, Ky. Rev. Stat. Ann
11               §365.020 et seq.;
12        q.     Louisiana Unfair Trade Practices and Consumer Protection Law, La.
13               Rev. Stat. Ann. §51:1401 et seq.;
14        r.     Maine Unfair Trade Practices Act, Me. Rev. Stat. tit. 5 §205A et seq.,
15               and Maine Uniform Deceptive Trade Practices Act, Me. Rev. Stat. Ann.
16               tit. 10, §1211 et seq.,
17        s.     Massachusetts Unfair and Deceptive Practices Act, Mass. Gen. Laws ch.
18               93A;
19        t.     Michigan Consumer Protection Act, Mich. Comp. Laws §445.901 et
20               seq.;
21        u.     Minnesota Prevention of Consumer Fraud Act, Minn. Stat.
22               Ann.§325F.68 et seq., and Minnesota Uniform Deceptive Trade Practices
23               Act, Minn. Stat. §325D.43 et seq.;
24        v.     Mississippi Consumer Protection Act, Miss. Code Ann. §§75-24-1 et
25               seq.;
26        w.     Missouri Merchandising Practices Act, Mo. Rev. Stat. §407.010 et seq.;
27        x.     Montana Unfair Trade Practices and Consumer Protection Act, Mont.
28               Code Ann. §30-14-101 et seq.;
          y.     Nebraska Consumer Protection Act, Neb. Rev. Stat. §59-1601 et seq.,
                                            37
                                 CLASS ACTION COMPLAINT
     Case 2:23-cv-07737
          Case MDL No. 3089
                        Document
                             Document
                                 1 Filed
                                       1-6
                                         09/15/23
                                            Filed 09/18/23
                                                    Page 38 Page
                                                            of 42 41Page
                                                                     of 45ID #:38


1                and the Nebraska Uniform Deceptive Trade Practices Act, Neb. Rev.
2                Stat. §87-301 et seq.;
3         z.     Nevada Trade Regulation and Practices Act, Nev. Rev. Stat. §598.0903
4                et seq.;
5         aa.    New Hampshire Consumer Protection Act, N.H. Rev. Stat. §358-A:1 et
6                seq.;
7         bb.    New Jersey Consumer Fraud Act, N.J. Stat. Ann. §56:8 1 et seq.;
8         cc.    New Mexico Unfair Practices Act, N.M. Stat. Ann. §57 12 1 et seq.;
9         dd.    New York Deceptive Acts and Practices Act, N.Y. Gen. Bus. Law §349
10               et seq.;
11        ee.    North Dakota Consumer Fraud Act, N.D. Cent. Code §51 15 01 et seq.;
12        ff.    Ohio Consumer Sales Practices Act, Ohio Rev. Code Ann. §1345.02 and
13               1345.03; Ohio Admin. Code §109:4-3-02, 109:4-3-03, and 109:4-3-10;
14        gg.    Oklahoma Consumer Protection Act, Okla. Stat. tit. 15 §751 et seq.;
15        hh.    Oregon Unfair Trade Practices Act, Ore. Rev. Stat §646.608(e) & (g);
16        ii.    Rhode Island Unfair Trade Practices And Consumer Protection Act, R.I.
17               Gen. Laws §6-13.1-1 et seq.;
18        jj.    South Carolina Unfair Trade Practices Act, S.C. Code Ann. §39-5-10 et
19               seq.;
20        kk.    South Dakota’s Deceptive Trade Practices and Consumer Protection
21               Law, S.D. Codified Laws §§37 24 1 et seq.;
22        ll.    Tennessee Consumer Protection Act, Tenn. Code Ann. §47-18-101 et
23               seq.;
24        mm. Texas Deceptive Trade Practice Act, V.T.C.A., Tex. Bus. & Com. Code
25               Ann. § 17.41 et. seq.;
26        nn.    Vermont Consumer Fraud Act, Vt. Stat. Ann. tit. 9, §2451 et seq.;
27        oo.    Washington Consumer Fraud Act, Wash. Rev. Code §19.86.010 et seq.;
28        pp.    West Virginia Consumer Credit and Protection Act, West Virginia Code
                 §46A-6-101 et seq.; and
                                            38
                                 CLASS ACTION COMPLAINT
     Case 2:23-cv-07737
          Case MDL No. 3089
                        Document
                             Document
                                 1 Filed
                                       1-6
                                         09/15/23
                                            Filed 09/18/23
                                                    Page 39 Page
                                                            of 42 42Page
                                                                     of 45ID #:39


 1         qq.     Wisconsin Deceptive Trade Practices Act, Wis. Stat. §100.18 et seq.
 2               133.    The products constitute a product to which these consumer
 3 protection laws apply.
 4               134.    In the conduct of trade or commerce regarding its production,
 5 marketing, and sale of the Products, Defendants engaged in one or more unfair or
 6 deceptive acts or practices including, but not limited to, uniformly representing to
 7 Plaintiff and each member of the Classes that the products are effective decongestants.
 8               135.    Defendants’ representations and omissions were false, untrue,
 9 misleading, deceptive, and/or likely to deceive.
10               136.    Defendants knew, or should have known, that their representations
11 and omissions were false, untrue, misleading, deceptive, and/or likely to deceive.
12               137.    Defendants used or employed such deceptive and unlawful acts or
13 practices with the intent that Plaintiffs and members of the Classes rely thereon.
14               138.    Plaintiff and the other members of the Classes did so rely.
15               139.    Plaintiff and the other members of the Classes purchased the
16 Products produced by Defendants which misrepresented the characteristics and nature
17 of the Products.
18               140.    Plaintiff and the other members of the Classes would not have
19 purchased the Product but for Defendants’ deceptive and unlawful acts.
20               141.    As a result of Defendants’ conduct, Plaintiff and the other members
21 of the Classes sustained damages in amounts to be proven at trial.
22               142.    Defendants’ conduct showed complete indifference to, or conscious
23 disregard for, the rights and safety of others such that an award of punitive and/or
24 statutory damages is appropriate under the consumer protection laws of those states that
25 permit such damages to be sought and recovered.
26 / / /
27 / / /
28
                                    EIGHT CAUSE OF ACTION
                                             39
                                  CLASS ACTION COMPLAINT
     Case 2:23-cv-07737
          Case MDL No. 3089
                        Document
                             Document
                                 1 Filed
                                       1-6
                                         09/15/23
                                            Filed 09/18/23
                                                    Page 40 Page
                                                            of 42 43Page
                                                                     of 45ID #:40


 1                           NEGLIGENT MISREPRESENTATION
 2          (By Plaintiff, on Behalf of Herself, the California Classes and the Multi-
 3                          State Classes against all Defendants)
 4        143.   Plaintiff repeats and realleges the allegations set forth in the preceding
 5 paragraphs, and incorporates the same as if set forth herein at length.
 6        144. As discussed above, Defendants misrepresented the efficacy and qualities
 7 of their Products.
 8        145. At the time Defendants made these representations, Defendants knew or
 9 should have known that these representations were false or made them without
10 knowledge of their truth or veracity.
11        146. In making representations of fact to Plaintiff and the members of the
12 California and the Multi-State Classes about the Products, Defendants failed to fulfill
13 their duty to disclose the material facts alleged above. Such failure to disclose on the
14 part of Defendants amounts to negligent misrepresentation.
15        147. At an absolute minimum, Defendants negligently misrepresented and/or
16 negligently omitted material facts about the Products.
17        148. The negligent misrepresentations and omissions made by Defendants,
18 upon which Plaintiff and Class members reasonably and justifiably relied, were
19 intended to induce, and actually induced Plaintiff and Class members to purchase the
20 Product.
21        149. Plaintiff and Class members would not have purchased the Product or
22 would not have purchased the products on the same terms if the true facts had been
23 known.
24        150. Plaintiff and the other members of the California Classes, as a direct and
25 proximate cause of Defendants’ negligent misrepresentations, reasonably relied upon
26 such misrepresentations to their detriment. By reason thereof, Plaintiff and the other
27 Class members have suffered damages in an amount to be proven at trial.
28


                                           40
                                CLASS ACTION COMPLAINT
     Case 2:23-cv-07737
          Case MDL No. 3089
                        Document
                             Document
                                 1 Filed
                                       1-6
                                         09/15/23
                                            Filed 09/18/23
                                                    Page 41 Page
                                                            of 42 44Page
                                                                     of 45ID #:41


1                                         PRAYER FOR RELIEF26
2           WHEREFORE, Plaintiff, on behalf of herself and all others similarly situated,
3     pray for judgment against the Defendants as to each and every count, including:
4           A.     An order declaring this action to be a proper class action, appointing
5     Plaintiff and her counsel to represent the Class, and requiring Defendants to bear the
6     costs of class notice;
7           B.     An order enjoining Defendants from selling the Products;
8           C.     An order enjoining Defendants from suggesting or implying that they are
9     effective for human application;
10          D.     An order requiring Defendants to engage in a corrective advertising
11    campaign and engage in any further necessary affirmative injunctive relief, such as
12    recalling existing Products;
13          E.     An order awarding declaratory relief, and any further retrospective or
14    prospective injunctive relief permitted by law or equity, including enjoining
15    Defendants from continuing the unlawful practices alleged herein, and injunctive relief
16    to remedy Defendants’ past conduct;
17          F.     An order requiring Defendants to pay restitution/damages to restore all
18    funds acquired by means of any act or practice declared by this Court to be an unlawful,
19    unfair, or fraudulent business act or practice, untrue or misleading advertising in
20    violation of the above-cited authority, plus pre- and post-judgment interest thereon;
21          G.     An order requiring Defendants to disgorge any ill-gotten benefits received
22    from Plaintiff and members of the Class as a result of any wrongful or unlawful act or
23    practice;
24          H.     An order requiring Defendants to pay all actual and statutory damages
25    permitted under the counts alleged herein;
26          I.     An order awarding attorneys’ fees and costs to Plaintiff and the Class; and
27
28   26
       Presently, as regards her third cause of action for violation of the Consumer Legal Remedies Act,
     Plaintiff does not seek monetary damages for such claim. Plaintiff intends however to amend her
     complaint to add a prayer for such damages once she has complied with the notice requirements.
                                                      41
                                       CLASS ACTION COMPLAINT
     2        PLEASE TAKE NOTICE that the Further Status Conference Hearing was held August 3,
      Case 2:23-cv-07737
           Case MDL No. 3089
                          Document
                                Document
                                    1 Filed 1-6
                                              09/15/23
                                                 Filed 09/18/23
                                                         Page 42 Page
                                                                  of 42 45Page
                                                                           of 45ID #:42
     3 2022 at 10:00 a.m. in the above-entitled court. Lirit A. King of Bradley/Grombacher, LLP

 14      appeared
            J. telephonically on behalf of
                  An order providing    forPlaintiff
                                            all otherAnselmo Pardo; Anetrelief
                                                       such equitable     Drapalski of Fisher
                                                                               as may  be just& and
                                                                                                Phillips,

 2 5 proper.
       LLP appeared telephonically on behalf of Defendants Shadow Holdings LLC dba Bocchi

 36      Laboratories, Inc., Bocchi Laboratories Ohio LLC, and Bright Innovation Labs (“Defendants”).

 47      The Court ruled as follows:     DEMAND FOR JURY TRIAL
 58         1. A Further Status Conference is scheduled for October 27, 2022 at 9:30 a.m. in Department
         Plaintiff demands a trial by jury on all issues so triable.
 69             11 at 312 North Spring Street Court;

 710DATED:
        2. The Parties are to file a Joint Status Conference Statement five (5) days prior to the above
            September 15, 2023                  BRADLEY/GROMBACHER, LLP
 811            scheduled status conference; and

 912        3. Plaintiff is directed to give notice and post a copy of same on the Parties' electronic service.
                                                   By:
1013                                                     Marcus Bradley, Esq.
1114                                                     Kiley Grombacher, Esq.
         DATED: August 4, 2022                         BRADLEY/GROMBACHER, LLP
                                                         Lirit King, Esq.
1215                                                   LEXICON  LAW,   PC
                                                         Attorneys for Plaintiff and others
1316                                                     similarly situated
1417                                                   By:
                                                                 Marcus Bradley, Esq.
1518                                                             Kiley Grombacher, Esq.
                                                                 Lirit King, Esq.
1619
                                                                 John Habashy, Esq.
1720                                                             Attorneys for Plaintiff and others similarly
                                                                 situated
1821
1922
2023
2124
2225
2326
2427
2528
26                                                           1
                                                 NOTICE OF RULING
27
28


                                                  42
                                       CLASS ACTION COMPLAINT
